             Case 3:08-cr-00045-LRH-VPC                Document 145    Filed 06/09/10       Page 1 of 2
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UNITED STATESOFAMERICA                    JUDGM ENT IN A CRIM INAL CAS                         Jtlh - 9 221g       '
        vs.                               (ForRevocation ofProbationorSupervise Releas
M ICHAEL STRAIN                                                                            ctgax (j8 nlsyqlc: COLJRT
                                          CASE NUMBER:         3:08-cr-45-LR.H( M)           DiD
                                                                                               :TRIGTOFNEVAD/A
                                          USM NUM BER:         43113-048           BY:               .                 DEPI
                                                                                                                          JTY

                                          Steven Sexton
TH E DEFENDANT:                           DEFENDANT'S ATTORNEY

(J)      admittedguilttoviolatingcondition (Seebelow)          oftheterm ofsupervision.
         wasfound in violaticm ofconditionts)                              afterdenialofguilt.
Thedefendantisadjudicated guiltyoftheseviolations:
Violation Num ber                NatureofViolation                                               Violation Ended

                                 Shallsubm itto drug/alcoholtesting asdirected by            10/15/09
                                 the probation oftice.
                                 Shallrefrain from any unlawfuluse ofa controlled substance. 10/15/09


        Thedefendantissentenced asprovided in pages2through 2 ofthisjudgment.Thesentenceisimposed
pursuantto the Sentenoing Refonn Actofl984.

        Thedefendanthasnotviolated conditionls)                            andisdischarged astosuchviolationts)of
        conditions.

       Itisordered thatthedefendantmustnotif'
                                            y theUnited Statesattorney forthisdistrictwithin 30 daysofany,
change ofname,residence,ormailingaddressuntilalltines,restitution,costs,and specialassessmentsimposed by this
judgmentarefullypaid.lforderedtopay restitution,thedefendantshallnotifytheeoul'
                                                                              tandUnitedStatesAttorneyof
any materialchanges in econom ic circum stances.

LastFourDigitsofDefendant'sSoc.Sec.:8509                       '
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                                                                    R 7 201()
                                                               Date oflm position ofJudgm ent
Defendant'sY earofBirth:1965                                                 .

City and State ofDefendant'sResidence:                                             >
                                                               Signature ofJudge
Reno-N V
                                                               LARRY R.HICKS
                                                               U .S.D ISTRICT JUDGE
                                                               Nam eand Title ofJudge
                                                                  6lhhJ
                                                               Date
             Case 3:08-cr-00045-LRH-VPC                   Document 145   Filed 06/09/10    Page 2 of 2
AOIVI;D(Re1'.72/07)JudgmentlnaCrlminalCascforRevocatl
                                                    ons
        Sheet2-Imprisonment
DEFEN DAN T:             M ICHAEL STRAIN                                                       Judgment-Page 2
CASE NUM BER:            3:08-cr-45-LRH(RAM )
                                                     IM PR ISO NM EN T

        The defendantishereby com m itted to the custody ofthe United StatesBureau ofPrisonsto beim prisoned fora
totalterm of: TIM E SERVED




        The courtm akesthefollowing recom mendationsto theBureau ofPrisons:




        The defendantisremanded to the custody ofthe United StatesM arshal.

        The defendantshallsurrenderto the United StatesM arshalforthisdistrict:
        ()       at                 a.m ./p.m.on
                 asnotified by the United StatesM arshal.


        The defendantshallsurrenderforservice ofsentence attheinstitution designated by theBureau ofPrisons:
        ()       before2p.m.on
        ()       asnotifiedbytheUnited StatesMarshal.
        ()       asnotifiedbytheProbationofPretrialServicesOffice.


                                                           RETURN

Jhaveexecutedthisjudgmentasfollows:




        Defendantdelivered on                                     to
at                                                                           ,withacertifiedcopyofthisjudgment.

                                                                  UN ITED STATES M A RSHAL

                                                                  BY:
                                                                         Deputy U.S.M arshal
